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                        EXHIBIT C
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


                                       x
  In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(JO)
  FEE AND MERCHANT DISCOUNT            :
  ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(JO)
                                       :
                                       :   [PROPOSED] ORDER APPOINTING
                                       :   SPECIAL MASTER
  This Document Relates To:
                                       :
           ALL ACTIONS.                :
                                       :
                                       x




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           The Court finds that appointment of a Special Master, pursuant to Fed. R. Civ. P. 53, is

  warranted. A Special Master is hereby appointed to resolve any disputes or matters arising out of

  or relating to the Plan of Administration and Distribution that is Appendix I to the Superseding

  and Amended Definitive Class Settlement Agreement. Upon this appointment, the Special Master

  shall have the authority specified in Fed. R. Civ. P. 53(c) with respect to those disputes and matters.

           1.         [Name of Special Master] of [Address] is appointed Special Master to resolve any

  disputes or matters arising out of or relating to the Plan of Administration and Distribution (“Plan

  of Administration”), including the proper scope of a requested exclusion from the Rule 23(b)(3)

  Settlement Class and the resolution of claims made to the Net Cash Settlement Fund. The Special

  Master is directed to proceed with all reasonable diligence to complete the tasks assigned by this

  order.

           2.         Subject to the procedures set forth herein, the Special Master shall have discretion

  to determine the appropriate procedures for resolution of all matters within his or her appointment

  and shall have the authority to take all appropriate measures to perform the assigned duties.

           3.         Matters arising out of or relating to the Plan of Administration and its claims

  process shall be raised in the first instance with the Class Administrator. The Class Administrator

  may address the matter or refer it to the Special Master for resolution. If the Class Administrator

  addresses the matter, any interested party may appeal the Class Administrator’s resolution to the

  Special Master. The party raising the matter shall provide the Special Master with an application

  describing the nature of the dispute, a suggested resolution, and basis for that resolution. Any

  party that wishes to respond to the application shall have fifteen business days to submit its

  opposition papers to the Special Master. The party making the application shall thereafter have

  five business days to submit reply papers to the Special Master. Reasonable adjustments to the


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  briefing schedule for a dispute may be made by the Special Master. All submissions to the Special

  Master shall be served on any interested party and Rule 23(b)(3) Class Counsel, who shall

  promptly provide such submissions to counsel for the defendants.

           4.         Unless otherwise directed by the Court, the Special Master’s report and

  recommendation on each matter, and all evidence considered by the Special Master in making or

  recommending any findings of fact, shall be filed on the Court’s 05-md-01720 docket and served

  on any affected parties no later than 30 days after the reply papers have been received by the

  Special Master. Any interested party shall have 21 days, following the filing and service, to file

  objections to the Special Master’s report and recommendation with the Court; any responses to

  objections may be filed within 21 business days thereafter. No replies regarding objections shall

  be permitted unless they are authorized by the Court. The Court shall review the Special Master’s

  reports and recommendations de novo, and that review shall be on the record before the Special

  Master.

           5.         The Special Master is permitted to have ex parte contact with the Court. The

  Special Master is permitted to have ex parte contact with parties involved in any dispute (including

  Rule 23(b)(3) Class Counsel), if the parties to the dispute approve those the ex parte contacts. Such

  ex parte communications shall not be deemed to waive any attorney-client or other privileges. The

  Special Master shall proceed with all reasonable diligence.

           6.         The Special Master must preserve all materials considered in making its

  determinations and upon completion of a ruling by the Special Master, the Special Master shall

  file the materials with the Court.        These materials include: (a) formal written reports or

  recommendations regarding any matter; and (b) a record of the evidence considered by the Special

  Master in making or recommending findings of fact.


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           7.         The Special Master is to be paid his or her reasonable hourly rate. The Special

  Master shall periodically submit to the Court for approval normal billing records of time spent and

  expenses, with reasonably detailed descriptions of activities and matters worked on. The Special

  Master’s fees and expenses in connection with resolving disputes shall be paid out of the Class

  Settlement Cash Escrow Account.

           8.         The Special Master’s appointment shall be for a period of two years, with the option

  of renewal.

           IT IS SO ORDERED.

  DATED: _________________________                  ____________________________________
                                                    THE HONORABLE MARGO K. BRODIE
                                                    UNITED STATES DISTRICT JUDGE




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